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                                 UNITED STATES DISTRICT COURT
10                              NORTHERN DISTRICT OF CALIFORNIA
11   VICIOUS BRANDS, INC. dba SAINTS &           Case No. 3:24-cv-04996-LJC
12   SINNERS HAIRCARE, a Nevada
     corporation,                                DELCARATION OF DIANA WILSON
13                                               IN SUPPORT OF PLAINTIFF’S
                   Plaintiff,                    OPPOSITION TO DEFENDANTS’
14                                               MOTION TO DISMISS COMPLAINT
            v.                                   FOR LACK OF PERSONAL
15                                               JURISDICTION AND IMPROPER
16   HOLLY CUTLER, an individual, THE SKIN       VENUE
     SAINT, LLC, a Michigan limited liability
17   company, FACE CO., LLC, a Michigan          Date:    November 12, 2024
     limited liability company,                  Time:    10:30 a.m.
18                                               Ct:      Courtroom G
                   Defendants.                   Judge:   Hon. Lisa J. Cisneros
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     Case No. 3:24-cv-04996-LJC                    DECL. OF D. WILSON ISO OF PLAINTIFF’S
                                                   OPP. TO DEFENDANTS’ MTN TO DISMISS
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1           I, Diana Wilson, declare as follows:

2           1.     I am a co-founder and Chief Creative Officer of Plaintiff Vicious Brands, Inc.
3    dba Saints & Sinners Haircare (“Plaintiff” or “Saints & Sinners”). I make this declaration in
4    support of Plaintiff’s Opposition to Defendants’ Motion to Dismiss Complaint for Lack of

5    Personal Jurisdiction and Improper Venue. Unless otherwise stated, I have personal

6    knowledge of the facts set forth in this declaration, and if called to testify, could and
7    would do so competently.

8           2.     Saints & Sinners is a Nevada corporation.

9           3.     Saints & Sinners is registered to conduct business in California.

10          4.     Saints & Sinners develops, markets, and sells luxury hair care products.
11          5.     Since at least 2016, Saints & Sinners has continuously used the following

12   stylized logo (the “SS Mark”) on and in connection with its hair products throughout the

13   United States and internationally.
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18          6.     Saints & Sinners is the owner of multiple United States federal trademark

19   registrations covering the SS Mark, including under registrations numbers 5,097,396 and

20   5,097,386.
21          7.     Through extensive use, marketing, branding, and promotion, the SS Mark

22   has become well-known in California, the United States, and internationally, enjoying

23   substantial recognition, goodwill, and association with Saints & Sinners.
24          8.     In March 2021, Defendants began using a confusingly similar SS logo (the
25   “Infringing Mark”) in connection with their related beauty products and services, including

26   but not limited to, beauty consultation services, cleansers, lotions, moisturizers, serums,
27   masks, and creams.

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     Case No. 3:24-cv-04996-LJC                          DECL. OF D. WILSON ISO OF PLAINTIFF’S
                                                   1     OPP. TO DEFENDANTS’ MTN TO DISMISS
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5           9.        The core business activities and trademarks of Saints & Sinners relevant to

6    this matter are substantially based in or related to California.
7           10.       Saints & Sinners’ primary wholesale distributor operates within California.

8           11.       The formulation, development, and production of three of Saints & Sinners’

9    bestselling products occurred in California.

10          12.       The Saints & Sinners SS design trademarks were conceived and designed
11   in California.

12          13.       Saints & Sinners conducts more trainings and seminars in California than

13   all of the other states combined.
14          14.       The majority of Saints & Sinners session stylists working with the brand are

15   located in California.
16          15.       Saints & Sinners is a frequent sponsor of events located in California
17   including The Grammys and The Emmys.

18          I declare under penalty of perjury under the laws of the United States of America

19   that the foregoing is true and correct that this declaration was executed on October 11,

20   2024 in Punta Mita, Mexico.
             _____________________.
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                                                       By: Diana Wilson (Oct 11, 2024 11:51 MDT)
22                                                                Diana Wilson
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     Case No. 3:24-cv-04996-LJC                                  DECL. OF D. WILSON ISO OF PLAINTIFF’S
                                                   2             OPP. TO DEFENDANTS’ MTN TO DISMISS
